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                  EXHIBIT Q
             Case: 1:18-cv-02022 Document #: 104-5 Filed: 03/20/23 Page 2 of 3 PageID #:1498




From:                                                       Leslle, Russell
Sent:                                                       Monday, September 14,2015 12:'18 PM
To:                                                         Burns, Cheryl
Cc:                                                         Huttenlocher, Tessa
Subject:                                                    RE: Pangea          totals



Our initial process and findings:

We used the Pangea Rent Roll provide and performed an Excel function to identify any address in the Pangea file that
match any address in the Yardi Monthly HCV Address Listing.
The function indicated there were only 50 matching addresses.
We used these address and verify from Pangea's Rent Roll if there were any variations between what was charged by
Pangea for non-HCV participants and HCV participants.
We found of the 50 matching units.,.
                       Difference is
         40           Yes         negative
                                  Difference           is
             9 yes      positive
             1 No comparative information
Tessa then perform analysis on the data using and determined the average difference in the rents changed.



                                Russdll   lesliel lPl Enforcement, Housing Choice Voucher Program
                                Phone 312.913.7288           |   Fax   312.913.7289    |

                                Chicago Housing Authority | 60             E.   Van Buren I Chicago, lL 60605
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             F{e                rleslie@thecha.org I www.thecha.org


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                                'nSuccess is going from failure to failue without losing your enthusiamsm"
                                Winston Churchill
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                                recipient, please be advised that any review, use, reproduction or distribution of this message is prohibited.




From: Burns, Cheryl
Sent: Monday, September 14,2015 8:21 AM
To: Leslie, Russell <RLeslie@thecha.org>; Huttenlocher, Tessa <THuttenlocher@thecha.org>
Subject: Pangea totals

Can you work together to write up a methodology and summary of findings for me on the Pangea project? Let me know
how long you think this would take.

Thanks   !




Cheryl


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                       Cheryl    L Burns   I Senior Directol Housing Choice Voucher Program
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